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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

JOHN DOE,
Petitioner
Vv. Civil Action

No. 19-12508-PBS
ANTONE MONIZ, Superintendent,

Plymouth County Correctional Facility
Respondent

 

ORDER OF RECUSAL
January 27, 2020

I recuse myself because I know the petitioner’s proposed
sponsor and my impartiality might reasonably be questioned

pursuant to 28 U.S.C. §455(a).

/s/ Patti B. Saris
Patti B. Saris
U.S. District Judge
